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                      THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

   BRIAN GARRETT, et al.,                            )
                                                     )     Case No. 2:18-cv-00692
                  Plaintiffs,                        )
                                                     )     Judge Michael H. Watson
   v.                                                )
                                                     )     Chief Magistrate Judge Elizabeth P.
   THE OHIO STATE UNIVERSITY,                        )     Deavers
                                                     )
                  Defendant.                         )
                                                     )
                                                     )
   STEVE SNYDER-HILL, et al.,                        )
                                                     )     Case No. 2:18-cv-00736
                  Plaintiffs,                        )
                                                     )     Judge Michael H. Watson
   v.                                                )
                                                     )     Chief Magistrate Judge Elizabeth P.
   THE OHIO STATE UNIVERSITY,                        )     Deavers
                                                     )
                  Defendant.                         )
                                                     )

                     SUGGESTION OF DEATH UPON THE RECORD

        The Mass Plaintiffs (Snyder-Hill, et al.), by and through counsel, suggest upon the record,

pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure, the death of John Doe 18 (case

number 2:18-cv-00736) during the pendency of this action.

                                                         Respectfully submitted,

                                                           /s/ Scott E. Smith
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                                CERTIFICATE OF SERVICE

       A copy of this document was served by the Court’s ECF System on all counsel of record

on May 14, 2019, pursuant to Fed. R. Civ. P. 5(b)(2)(E).

       A copy of this document was also served via certified mail on the spouse of John Doe 18

on May 14, 2019, pursuant to Fed. R. Civ. P. 4(e)(1).

                                                          /s/ Scott E. Smith
                                                        SCOTT E. SMITH (0003749)




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